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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION

DONALD GILBREATH, ROBERT                     §
STEVE HICKS AND CAREY                        §
STRIPLING, INDIVIDUALLY AND                  §
ON BEHALF OF ALL OTHERS                      §
SIMILARLY SITUATED                           §
            Plaintiffs                       §
                                             §
vs.                                          §        C.A. NO. 6:17-cv-00618-RWS
                                             §        JURY TRIAL DEMANDED
                                             §
BROOKSHIRE GROCERY COMPANY                   §
         Defendant                           §



                        AMENDED DOCKET CONTROL ORDER

       It is hereby ORDERED that the following schedule of deadlines is in effect until further
order of this Court:

  3 DAYS after             Parties to file Motion to Seal Trial Exhibits, if they wish to seal any highly
  conclusion of Trial      confidential exhibits.

                           EXHIBITS: See Order below regarding exhibits.
  July 22, 2019            9:00 a.m. JURY TRIAL before Judge Robert W. Schroeder III, Tyler,
                           Texas.

                           For planning purposes, parties shall be prepared to start the evidentiary
                           phase of trial immediately following jury selection.
  July 15, 2019            9:00 a.m. JURY SELECTION before Judge Robert W. Schroeder III,
                           Tyler, Texas.
  July 2, 2019             10:00 a.m. PRETRIAL CONFERENCE before Judge Robert W.
                           Schroeder III, Texarkana, Texas.

                           All pending motions will be heard.
                           Lead trial counsel must attend the pretrial conference.
  June 25, 2019
                           File a Notice of Time Requested for (1) voir dire, (2) opening statements,
                           (3) direct and cross examinations, and (4) closing arguments.
  June 25, 2019
                           File Responses to Motions in Limine.
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 June 18, 2019       File Motions in Limine and pretrial objections

                     The parties are ORDERED to meet and confer to resolve any disputes
                     before filing any motion in limine or objection to pretrial disclosures.
 June 18, 2019       File Joint Final Pretrial Order, Joint Proposed Jury Instructions with
                     citation to authority and Form of the Verdict for jury trials.

                     Parties shall use the pretrial order form on Judge Schroeder’s website.

                     Proposed Findings of Fact and Conclusions of Law with citation to authority
                     for issues tried to the bench.
 June 11, 2019
                     Exchange Objections to Rebuttal Deposition Testimony.
 June 4, 2019        Notice of Request for Daily Transcript or Real Time Reporting of Court
                     Proceedings due.

                     If a daily transcript or real time reporting of court proceedings is requested
                     for trial or hearings, the party or parties making said request shall file a
                     notice with the Court.
 June 4, 2019        Exchange Rebuttal Designations and Objections to Deposition Testimony.

                     For rebuttal designations, cross examination line and page numbers to be
                     included.

                     In video depositions, each party is responsible for preparation of the final
                     edited video in accordance with their parties’ designations and the Court’s
                     rulings on objections.
 May 21, 2019        Exchange Pretrial Disclosures (Witness List, Deposition Designations, and
                     Exhibit List) by the Party with the Burden of Proof.

                     Video and Stenographic Deposition Designation due. Each party who
                     proposes to offer deposition testimony shall serve a disclosure identifying
                     the line and page numbers to be offered.
 May 14, 2019        Any Remaining Dispositive Motions due from all parties and any other
                     motions that may require a hearing (including Daubert motions).

                     Motions shall comply with Local Rule CV-56 and Local Rule CV-7.
                     Motions to extend page limits will only be granted in exceptional
                     circumstances.

                     For each motion filed, the moving party shall provide the Court with one (1)
                     copy of the completed briefing (opening motion, response, reply, and if
                     applicable, surreply), excluding exhibits, in a three-ring binder appropriately
                     tabbed. All documents SHALL be double-sided and must include the
                     CM/ECF header. These copies shall be delivered to Judge Schroeder’s
                     chambers in Texarkana as soon as briefing has completed.

                     Respond to Amended Pleadings.
 May 7, 2019
                     Parties to Identify Rebuttal Trial Witnesses.


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  April 30, 2019            Parties to Identify Trial Witnesses; Amend Pleadings.

                            It is not necessary to file a Motion for Leave to Amend before the deadline
                            to amend pleadings. It is necessary to file a Motion for Leave to Amend
                            after the deadline.
  April 30, 2019
                            Discovery Deadline.
  April 19, 2019            Document Production Deadline
  March 19, 2019            Parties designate rebuttal expert witnesses, rebuttal expert witness reports
                            due. Refer to Local Rules for required information.

                            If, without agreement, a party serves a supplemental expert report after the
                            rebuttal expert report deadline has passed, the serving party must file notice
                            with the Court stating service has occurred and the reason why a
                            supplemental report is necessary under the circumstances.
  March 5, 2019             Parties with burden of proof designate expert witnesses. Expert witness
                            reports due. Refer to Local Rules for required information.
  4 Days                    EXPECTED LENGTH OF TRIAL



       In the event that any of these dates fall on a weekend or Court holiday, the deadline is
modified to be the next Court business day.

        The parties are directed to Local Rule CV-7(d), which provides in part that “[a] party’s
failure to oppose a motion in the manner prescribed herein creates a presumption that the party
does not controvert the facts set out by movant and has no evidence to offer in opposition to the
motion.”

        A party may request an oral hearing on a motion filed with the Court. Any such request
shall be included in the text or in a footnote on the first page of the motion or any responsive
pleading thereto. The Court does not hold telephonic hearings absent unusual circumstances.



                                             Other Limitations

   (a)     The following excuses will not warrant a continuance or justify a failure to comply
           with the discovery deadline:
             (i) The fact that there are motions for summary judgment or motions to dismiss;
            (ii) The fact that one or more of the attorneys is set for trial in another court on the
                  same day, unless the other setting was made prior to the date of this order or
                  was made as a special provision for the parties in the other case;
           (iii) The failure to complete discovery prior to trial, unless the parties can
                  demonstrate that it was impossible to complete discovery despite their good
                  faith effort to do so.


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     (b)         Amendments to the Docket Control Order (“DCO”): Any motion to alter any date on
                 the DCO shall take the form of a motion to amend the DCO. The motion shall include
                 a chart in the format of the DCO that lists all of the remaining dates in one column (as
                 above) and the proposed changes to each date in an additional adjacent column (if there
                 is no change for a date the proposed date column should remain blank or indicate that
                 it is unchanged). The motion to amend the DCO shall also include a proposed DCO in
                 traditional two-column format that incorporates the requested changes and that also
                 lists all remaining dates. In other words, the DCO in the proposed order should be
                 complete such that one can clearly see all the remaining deadlines rather than needing
                 to also refer to an earlier version of the DCO.
     (c)         Motions in Limine: Each side is limited to one (1) motion in limine addressing no more
                 than ten (10) disputed issues. In addition, the parties may file a joint motion in limine
                 addressing any agreed issues. The Court views motions in limine as appropriate for
                 those things that will create a proverbial “skunk in the jury box,” e.g., that, if mentioned
                 in front of the jury before an evidentiary ruling can be made, would be so prejudicial
                 that the Court could not alleviate the prejudice with an appropriate instruction. Rulings
                 on motions in limine do not exclude evidence, but prohibit the party from offering the
                 disputed testimony prior to obtaining an evidentiary ruling during trial.
     (d)         Exhibits: Each side is limited to designating 250 exhibits for trial absent a showing of
                 good cause. The parties shall use the exhibit list sample form on Judge Schroeder’s
                 website.
     (e)         Deposition Designations: Each side is limited to designating no more than ten (10)
                 hours of deposition testimony for use at trial absent a showing of good cause. As trial
                 approaches, if either side needs to designate more than ten (10) hours, the party may
                 file a motion for leave and show good cause. All depositions to be read into evidence
                 as part of the parties’ case-in-chief shall be EDITED so as to exclude all unnecessary,
                 repetitious, and irrelevant testimony; ONLY those portions which are relevant to the
                 issues in controversy shall be read into evidence.
     (f)         Witness Lists: The parties shall use the witness list sample form on Judge Schroeder’s
                 website.


           ORDER REGARDING EXHIBITS, EXHIBIT LISTS AND WITNESS LISTS:

A.         On the first day of trial, each party is required to have:

           (1)      One copy of their respective original exhibits on hand. Each exhibit shall be
                    properly labeled with the following information: Identified as either Plaintiff’s or
                    Defendant’s Exhibit, the Exhibit Number and the Case Number.
           (2)      Three hard copies of each party’s exhibit list and witness list on hand.
           (3)      One copy of all exhibits on USB Flash Drive(s) or portable hard drive(s). This shall
                    be tendered to the Courtroom Deputy at the beginning of trial.


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B.       The parties shall follow the process below to admit exhibits.
         (1) On the first day of trial, each party shall tender an “offered” list of exhibits it plans to
             admit into evidence that day which are NOT objected to, and read that list into the
             record. Parties shall entitle the list “[Plaintiff’s/Defendant’s] Exhibits Offered on
             [DATE].” If, during the course of the day’s testimony, a party wishes to offer an
             objected exhibit into evidence, the party may move for admission at the time it wishes
             to use that exhibit with a witness. The Court will then hear the opposing party’s
             objection and will rule on the objection at that time.
         (2) On each subsequent day of trial, parties shall first read into the record any exhibits that
             were admitted over objection from the previous day. The parties shall next tender an
             “offered” list of any additional exhibits NOT objected to that it plans to admit that day,
             and read that list into the record. The list shall be entitled “[Plaintiff’s/Defendant’s]
             Exhibits Offered on [DATE].” In addition to the “offered” list, parties shall tender a
             running list of all previously admitted exhibits throughout the course of trial entitled
             “[Plaintiff’s/Defendant’s] Exhibits Previously Admitted through [DATE of the most
             recently completed trial day].”
         (3) At the conclusion of evidence, each party shall read any exhibit that was admitted over
             objection that day into the record and then tender its final list of every admitted exhibit,
             entitled “[Plaintiff’s/Defendant’s] Final List of All Admitted Exhibits.”

C.       At the conclusion of evidence, each party shall be responsible for pulling those exhibits
         admitted at trial, whether used or not, and tender those to the Courtroom Deputy, who will
         verify the exhibits and tender them to the jury for their deliberations. One representative
         from each side shall meet with the Courtroom Deputy to verify the exhibit list.
     .
D.       At the conclusion of trial, all boxes of exhibits shall be returned to the respective parties
         and the parties are instructed to remove these exhibits from the courtroom.

E.       Within five business days of the conclusion of trial, each party shall submit to the
         Courtroom Deputy:

         (1)    A Final Exhibit List of Exhibits Admitted During Trial in Word format.
         (2)    Two CD(s) containing admitted unsealed trial exhibits in PDF format. If the Court
                ordered any exhibits sealed during trial, the Sealed Exhibits shall be submitted on
                a separate CD. If tangible or over-sized exhibits were admitted, such exhibits shall
                be substituted with a photograph in PDF format.
         (3)    A disk containing the transcripts of Video Depositions played during trial, along
                with a copy of the actual video deposition.

         So ORDERED and SIGNED this 15th day of October, 2018.




                                                              ____________________________________
                                                              ROBERT W. SCHROEDER III
                                                              UNITED STATES DISTRICT JUDGE

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